       Case 13-17864-mdc           Doc 123 Filed 12/13/18 Entered 12/13/18 08:23:56                    Desc
                                    Notice of Trustees Final Page 1 of 1
                             UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________________________________________________________________
In Re: Annette Picciano
                Debtor(s)                                 Bankruptcy No: 13−17864−mdc
                                                          Chapter: 13
_____________________________________________________________________________________________


                                             NOTICE OF DEADLINES

To the debtor, debtor's counsel, trustee, and all creditors and parties in interest, NOTICE IS GIVEN
THAT:

     1. The Standing Chapter 13 Trustee has filed his final report and account.

      2. Any objection to the Final Report and Account pursuant to Federal Rule 5009, must be
filed within 30 days from the date of this Notice with the Clerk of the U.S. Bankruptcy Court.

      3. Any objection to the entry of the Debtor(s)' Order of Discharge or request to delay the
entry of discharge pursuant to 11 U.S.C. § l 328(h), must be filed in writing within 14 days from
the date of this Notice with the Clerk of the U.S. Bankruptcy Court.
     4. All objections must be filed with the Clerk at the following address:

                                        900 Market Street
                                             Suite 400
                                      Philadelphia, PA 19107

    5. In the absence of any objection, the Court may approve the Trustee's Final Report and
Account and enter the Order of Discharge.




                                                                                      For The Court
                                                                                Timothy B. McGrath
                                                                                     Clerk of Court


Dated: 12/13/18
                                                                                                             123 − 122
                                                                                                         Form 138_new
